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              UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF ALABAMA
                   NORTHERN DIVISION

                                )
NOACH NEWMAN, et al.,           )
                                )
              Plaintiffs,       )
                                )       Case No.: 24-cv-00134-ECM-CWB
    v.
                                )
BAM TRADING SERVICES INC. d/b/a )       ORAL ARGUMENT REQUESTED
BINANCE.US et al.,              )
                                )
              Defendants.       )
                                )


   BAM TRADING SERVICES INC.’S MOTION TO DISMISS THE
AMENDED COMPLAINT AND SUPPORTING MEMORANDUM OF LAW
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        Pursuant to Federal Rules of Civil Procedure (“FRCP”) 8 and 10, 12(b)(1),

12(b)(2), and 12(b)(6), Defendant BAM Trading Services Inc. d/b/a Binance.US

(“BAM”) moves the Court to dismiss BAM from this action with prejudice. As

discussed below, the Court should dismiss BAM because: (i) the Amended

Complaint (“AC”) is an impermissible “shotgun” pleading, (ii) the Court lacks

personal jurisdiction over BAM, and (iii) the federal and state claims against BAM

fail to state a claim. Additionally, the Court lacks subject matter jurisdiction over

Plaintiffs’ Alien Tort Statute claim.

I.      INTRODUCTION AND BACKGROUND

        BAM unequivocally condemns terrorism in all forms and deeply sympathizes

with the victims of the devastating October 7, 2023 attacks perpetrated by Hamas

and the Palestinian Islamic Jihad (“PIJ”) that form the basis of the Amended

Complaint. However, BAM has no connection to these acts and is not responsible

for them under any theory of liability.

        The Amended Complaint, as its predecessor, attempts to conflate BAM with

its codefendants, Binance Holdings, Ltd. (“BHL”) and Mr. Zhao. But, as Plaintiffs

themselves acknowledge, BAM operates “a separate exchange designed to comply

with all US federal laws” that is “authorized to do business” in most of the United

States. (AC ¶ 94.) As discussed below and in the supporting declaration of BAM’s



                                            1
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Chief Operating Officer, 1 BAM maintains entirely separate operations and activities

from BHL and BHL’s non-U.S. exchange, Binance.com. See infra Section II(D).

       The Amended Complaint fails to cure the Complaint’s fatal flaw as to BAM:

it does not identify any BAM transactional activity or customer, and it contains no

allegation that BAM was utilized by Hamas or any terrorist organization in any way.

There are no allegations regarding conduct by BAM sufficient to establish personal

jurisdiction in this Court or liability for the attacks at issue, and BAM should be

dismissed from this action for several independent reasons.

       As an initial matter, the Amended Complaint is a quintessential “shotgun”

pleading, which is “flatly forbidden” in the Eleventh Circuit as violative of Rule 8(a)

and Rule 10(b). In an apparent effort to bolster its deficient allegations by lumping

together all Defendants, the Amended Complaint adds scores of pages of allegations,

but it continues to assert all claims against all Defendants without attributing conduct

to any particular party. See infra Section II(A). BAM is not even mentioned in any

of the paragraphs describing the six causes of action. (AC ¶¶ 331-65.)

       Plaintiffs further attempt to conflate these separate entities (and Mr. Zhao)

through a disfavored alter ego/veil-piercing theory. In this regard, Plaintiffs rely



1
  References to the “Blodgett Declaration” or “Decl.” refer to the Declaration of Christopher
Blodgett, submitted as Exhibit A in support of BAM’s Motion to Dismiss pursuant to Rule
12(b)(2). See N. Am. Sugar Indus., Inc. v. Xinjiang Goldwind Sci. & Tech. Co., 124 F.4th 1322,
1333 (11th Cir. 2025) (“[T]he defendant challenging [personal] jurisdiction may submit affidavit
evidence in support of its position at the pleading stage.”) (internal quotation omitted).
                                               2
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heavily on governmental proceedings against “Binance” (e.g., AC ¶¶ 72, 73, 86, 87,

96, 119), but BAM was not a target of (or party to) any of those proceedings.2

Referencing these proceedings against BHL and Mr. Zhao, Plaintiffs assert that

BAM was part of a “scheme” to deceive regulators. (See, e.g., AC ¶ 92.) But

Plaintiffs themselves allege that BAM’s primary role in this purported scheme was

merely passive, serving as a regulatory “smokescreen” because BAM was “designed

to comply with all applicable US federal laws” and was subject to U.S. regulatory

oversight. (Id. ¶¶ 105, 178; see also id. ¶ 191 (alleging that BAM was intended to

provide U.S. regulators “a direct avenue . . . to reach/hammer”).)

       The AC does not contest what numerous other courts have recognized: BAM

(i) maintains legitimate business operations separate from BHL (i.e., a functioning,

regulated U.S. cryptocurrency exchange); (ii) observes corporate formalities; and

(iii) is adequately capitalized, rather than a mere shell designed to evade liability.



2
  See, e.g., Consent Order, CFTC v. Zhao, No. 23-cv-01887 (N.D. Ill. Dec. 14, 2023), ECF No. 80;
Plea Agreement, United States v. Binance Holdings Ltd., No. 23-cr-00178 (W.D. Wash. Nov. 21,
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2023-04 (Nov. 21, 2023); OFAC Settlement Agreement (Nov. 21, 2023),
https://ofac.treasury.gov/system/files/2023-11/20231121_binance_settlement.pdf. Plaintiffs also
reference SEC litigation against both BHL and BAM. See AC ¶ 71 (citing Compl., SEC v. Binance
Holdings Ltd., No. 23-cv-01599 (June 5, 2023), ECF No. 1). That litigation is irrelevant to this
action and did not involve allegations of terrorism; instead, it arose from the SEC’s attempt to
reclassify cryptocurrencies as “securities.” In any event, the SEC recently dismissed the action
against BAM with prejudice. See SEC Announces Dismissal of Civil Enforcement Action Against
Binance Entities and Founder Changpeng Zhao, U.S. Sec. & Exch. Comm’n (May 29, 2025),
https://www.sec.gov/enforcement-litigation/litigation-releases/lr-26316.

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These uncontested facts are fatal to Plaintiffs’ alter ego allegations. See infra Section

II(D).

          Next, the Amended Complaint fails to allege a basis for personal jurisdiction

over BAM. BAM—a Delaware company with its headquarters in Florida—is not “at

home” in Alabama and therefore is not subject to general personal jurisdiction. It is

equally clear that BAM’s contacts with Alabama and the United States as a whole

are insufficient to subject it to personal jurisdiction under the Alabama long-arm

provision or a “nationwide contacts” theory. Both bases require the defendant’s

“suit-related conduct” to “create a substantial connection with the forum.” Walden

v. Fiore, 571 U.S. 277, 284 (2014).3 BAM is not alleged to have engaged in any suit-

related conduct, so its thin connections with Alabama (and its connections with the

United States) are plainly insufficient to satisfy the stringent due process

requirements. See infra Section II(B).

          On the substance of the allegations, Plaintiffs’ claims should also be dismissed

pursuant to Rule 12(b)(6) because the Amended Complaint fails to state a claim

against BAM. Every claim suffers from the same incurable defect: the minimal

allegations against BAM do not meet the elements necessary to establish liability.

          With respect to their claims for aiding and abetting under the Anti-Terrorism

Act (“ATA”) and the Justice Against Sponsors of Terrorism Act (“JASTA”) (Count


3
    All emphasis in quotations is added unless otherwise indicated.
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I), Plaintiffs fail to connect BAM’s conduct to the attacks or the terrorists that

perpetrated them. The Supreme Court recently reiterated “[the] canonical

formulation” that “an aider and abettor must participate in a crime as in something

that he wishes to bring about and seek by his action to make it succeed.” Smith &

Wesson Brands, Inc. v. Estados Unidos Mexicanos, 145 S. Ct. 1556, 1565 (2025).

Accordingly, “[t]o aid and abet a crime, a person must take an affirmative act in

furtherance of that offense.” Id. The Amended Complaint does not allege any act by

BAM in furtherance of the acts of terror. Instead, Plaintiffs allege that BAM operated

a regulated U.S. exchange and that other defendants allowed certain high-value U.S.

customers access to BHL’s platform. See infra pp. 23-24, 43-44. But the AC does

not allege any acts by BAM related to those customers. The Supreme Court has

definitively stated that these types of “passive[] acts” do not state a claim for

“culpable assistance” under the ATA. Twitter, Inc. v. Taamneh, 598 U.S. 471, 501

(2023); see infra Section II(C)(1)(a).

      Plaintiffs’ threadbare allegations likewise fail to allege necessary elements of

their JASTA conspiracy claim (Count II), which requires an agreement between

BAM and the terrorists and a shared intent to commit terrorism. See infra Section

II(C)(2)(b). Of course, neither can Plaintiffs establish that BAM’s conduct amounted

to an act of international terrorism in its own right, as their ATA primary-liability

claims require (Counts III and IV). See infra Section II(C)(2)(c). And Plaintiffs fail


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to establish a claim for negligence/wantonness under Alabama law (Count VI). See

infra Section II(C)(2).

      Finally, Plaintiffs’ Alien Tort Statute (“ATS”) claim (Count V) must be

dismissed pursuant to Rule 12(b)(1). Plaintiffs fail to establish this Court’s subject

matter jurisdiction over their claim, as the Amended Complaint does not put forth a

valid international-law basis for their claim or domestic conduct sufficient to

overcome the presumption against extraterritorial application of the ATS. See infra

Section II(E).

      For these reasons, BAM respectfully requests that the Court dismiss all claims

against it with prejudice.

II.   ARGUMENT
      A.     The Amended Complaint Should Be Dismissed Pursuant to Rule 8
             and Rule 10 Because It Is an Impermissible “Shotgun” Pleading.

      The Amended Complaint remains a quintessential “shotgun” pleading, which

is “flatly forbidden” in the Eleventh Circuit as violative of Rule 8(a) and Rule 10(b).

Barmapov v. Amuial, 986 F.3d 1321, 1324 (11th Cir. 2021). The Amended Complaint

should be dismissed because it falls within at least three of the forbidden “shotgun”

pleading categories identified by the Eleventh Circuit. Weiland v. Palm Beach Cnty.

Sheriff’s Off., 792 F.3d 1313, 1321 (11th Cir. 2015).

      First, although the Amended Complaint adds a raft of new allegations

supposedly detailing the inner workings of BAM and BHL, when it comes to laying

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out the allegations relevant to their claims, Plaintiffs continue to assert “multiple

claims against multiple defendants without specifying which of the defendants are

responsible for which act or omissions, or which of the defendants the claim is

brought against.” Id. at 1323. (See AC ¶¶ 331-65.) Indeed, neither BAM, nor any

other defendant, is specifically mentioned in any of the six causes of action.

Complaints of this nature are subject to dismissal. E.g., Kabbaj v. Obama, 568 F.

App’x 875, 880 (11th Cir. 2014) (complaint fails to satisfy Rule 8(a) where it “refers

to the defendants collectively”).

      Second, the Amended Complaint commits the “mortal sin” of pleading

“multiple counts where each count adopts the allegations of all preceding counts,

causing each successive count to carry all that came before and the last count to be

a combination of the entire complaint.” Weiland, 792 F.3d at 1321-22. In

contravention of the Eleventh Circuit’s pleading requirements, the first allegation in

each of the six causes of action purports to “repeat and reallege each and every

allegation of the foregoing paragraphs as if fully set forth herein.” (AC ¶¶ 331, 342,

344, 347, 350, 357.)

      Finally, the Amended Complaint “is replete with conclusory, vague, and

immaterial facts,” Weiland, 792 F.3d at 1322, obscuring what is being substantively

alleged. Additionally, the substantive allegations in the Amended Complaint are

obscured by superfluous paragraphs in which the Plaintiffs repeat previous


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allegations verbatim. (Compare, e.g., AC ¶¶ 193, 228, 235, 237, 129, 130, 131, 273,

274 with AC ¶¶ 224, 251, 296, 298, 270, 271, 272, 278, 279; compare AC ¶ 286 with

AC ¶¶ 192, 223, 248.) 4 This confusion is amplified by the Amended Complaint’s

reference to plaintiffs that are not listed in the caption or who appear to be listed

under pseudonyms, as well as the lack of allegations regarding a number of named

plaintiffs. (See, e.g., AC ¶¶ 56, 58, 62; see infra p. 34.)

       As the Complaint plainly falls within several forbidden “shotgun” pleading

categories, it should be dismissed.

       B.      The Complaint Should Be Dismissed Pursuant to Rule 12(b)(2)
               Because the Court Does Not Have Personal Jurisdiction over BAM.

       Plaintiffs’ personal jurisdiction allegations rely on generalized claims

pertaining to BAM’s thin presence in Alabama that are insufficient to establish

general jurisdiction, and Plaintiffs do not plead any suit-related conduct by BAM in

the United States sufficient to establish specific jurisdiction or jurisdiction under

Rule 4(k)(1)(C) or Ala. R. Civ. P. 4.2. 5 (AC ¶ 29.)




4
  Plaintiffs have also apparently recycled allegations from separate lawsuits. (See AC ¶¶ 58, 62, 65
(asserting claims against “Associational Defendants,” a term otherwise undefined in the Amended
Complaint)). Am. Compl., Haggai v. Kiswani, No. 25-cv-02400 (S.D.N.Y. May 29, 2025), ECF
No. 36 (lawsuit involving ATA and ATS claims stemming from the October 7 attacks brought by
the Haggai, Doe, Roe, Moe, Ziv, Samerano, Gvili, Baruch, and Poe Plaintiffs against
“Associational Defendants” defined as activist groups affiliated with Columbia University).
5
  Plaintiffs rely on the 2004 version of the Alabama Rules of Civil Procedure. The current long-
arm provision is Alabama Rule of Civil Procedure 4.2(b).

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      “As a general rule, courts should address issues relating to personal

jurisdiction before reaching the merits of a plaintiff’s claims.” Republic of Panama

v. BCCI Holdings (Lux.) S.A., 119 F.3d 935, 940 (11th Cir. 1997). The Court will

look to “[t]he four corners of a complaint [to] provide the basis for establishing

personal jurisdiction.” Roche Diagnostics Corp. v. Priority Healthcare Corp., 2019

WL 5102836, at *3 (N.D. Ala. Oct. 11, 2019). “Where, as here, the defendant

challenges jurisdiction by submitting affidavit evidence in support of its position,

the burden traditionally shifts back to the plaintiff to produce evidence supporting

jurisdiction.” United Techs. Corp. v. Mazer, 556 F.3d 1260, 1274 (11th Cir. 2009).

      Plaintiffs acknowledge that BAM is incorporated in Delaware and

headquartered in Florida (and therefore is a nonresident defendant). (AC ¶ 69; see

also Blodgett Decl. ¶ 4.) The Court’s determination of whether it has personal

jurisdiction over a nonresident defendant turns on a two-prong test. See, e.g.,

Madara v. Hall, 916 F.2d 1510, 1515-16 (11th Cir. 1990). Only if both prongs are

satisfied will the Court assert jurisdiction. Id. at 1514. “First, [the court] consider[s]

the jurisdictional question under the state long-arm statute.” Id. If that prong is met,

the second prong requires the court to determine whether there are sufficient

minimum contacts to satisfy due process concerns. Id.

      Alabama’s long-arm provision permits the exercise of jurisdiction over

nonresidents to the “fullest extent allowed under the Due Process Clause of the


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Fourteenth Amendment to the Constitution.” Ruiz de Molina v. Merritt & Furman

Ins. Agency, Inc., 207 F.3d 1351, 1355-56 (11th Cir. 2000). “Because the due process

guarantees of the Alabama Constitution are coextensive with that of the Constitution

of the United States, this Court turns to the question whether the requirements for

personal jurisdiction under the Due Process Clause of the Fourteenth Amendment

have been satisfied.” Kent v. Callaway Gardens Resort, Inc., 2009 WL 10688923, at

*2 (N.D. Ala. Apr. 3, 2009).

      “Considerations of due process require that a non-resident defendant have

certain minimum contacts with the forum, so that the exercise of jurisdiction does

not offend traditional notions of fair play and substantial justice.” Consol. Dev. Corp.

v. Sherritt, Inc., 216 F.3d 1286, 1291 (11th Cir. 2000); see also Int’l Shoe Co. v.

Washington, 326 U.S. 310, 316 (1945). “The sufficiency of the defendant’s contacts

with the forum state depends on the quantity and quality of those contacts, as well

as the type of personal jurisdiction being asserted: specific or general.” Kent, 2009

WL 10688923, at *2.

      Although not pled, BAM first addresses general personal jurisdiction for

purposes of completeness. This Court lacks personal jurisdiction over BAM under

any theory.




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             1.     There Is No General Jurisdiction over BAM in Alabama.

      In the case of a nonresident defendant, “[a] court may assert general

jurisdiction . . . when [the defendant’s] affiliations with the State are so continuous

and systematic as to render them essentially at home in the forum State.” Goodyear

Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915, 919 (2011). “[A]

corporation’s operations in a forum other than its formal place of incorporation or

principal place of business will be so substantial and of such a nature as to render

the corporation at home in that State only in exceptional cases.” Carmouche v.

Tamborlee Mgmt., Inc., 789 F.3d 1201, 1204 (11th Cir. 2015). The due process

requirements for general jurisdiction are “more stringent than that for specific

jurisdiction” and must be “substantial” to warrant jurisdiction. Nippon Credit Bank,

Ltd. v. Matthews, 291 F.3d 738, 747 (11th Cir. 2002).

      Plaintiffs cannot meet the high threshold for establishing that BAM is “at

home” in Alabama based on allegations that ultimately reduce to: (i) BAM has made

its website available to Alabama residents and (ii) BAM has a registered agent and

a related operations license in Alabama. (AC ¶¶ 33, 35, 37-39.) “[S]uch modest

activity c[annot] support the exercise of general jurisdiction, and plainly it does not.”

Beasley v. Providence Hosp., 2018 WL 2994380, at *3 (S.D. Ala. June 13, 2018)

(rejecting argument that company was subject to general jurisdiction in Alabama

“because it is licensed to do business in Alabama and has a registered agent for


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service of process in Alabama”); Whatley v. Ohio Nat’l Life Ins. Co., 2019 WL

6173500, at *3 (M.D. Ala. Nov. 19, 2019), aff’d, 851 F. App’x 910 (11th Cir. 2021)

(holding that defendants’ appointment of agents for service of process and

registration to do business in Alabama does not support a finding of general

jurisdiction and, consequently, no jurisdiction under Alabama’s long-arm provision).

      Similarly, Plaintiffs’ generalized allegations that Defendants “solicited and

conducted substantial business in [Alabama]” (AC ¶¶ 36) are insufficient to establish

“continuous and systematic [affiliations with Alabama] as to render them essentially

at home in the [state].” Goodyear, 564 U.S. at 919. Plaintiffs rely almost exclusively

on a single September 24, 2020 screenshot from BAM’s X account announcing that

registration was open for Alabama residents. (AC ¶ 38.) But such an announcement

is neither “continuous” nor “systematic” and cannot establish general jurisdiction.

See Kent, 2009 WL 10688923, at *4 (holding that “[g]iven the ease and proficiency

of communication in the modern world, advertising alone will generally not suffice

to establish general jurisdiction”); Tillery v. Mar. Grp., 1996 U.S. Dist. LEXIS 3630,

at *11 (S.D. Ala. Jan. 29, 1996) (finding that “direct and indirect marketing activities

in Alabama in order to solicit individuals and groups” were insufficient contacts to




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establish general jurisdiction).6

       Nor do Plaintiffs sufficiently allege that BAM conducts “substantial” business

in the state because BAM’s services are available to Alabama residents through its

online platform. (AC ¶¶ 36-39.) See Pruitt v. AAA Interstate Transp., LLC, 358 So.

3d 1144, 1149 (Ala. 2022) (holding that allegations that defendant “performed

[services] for Alabama customers” and “maintain[ed] a website accessible to

potential customers” in Alabama do “not come close to establishing that [defendant]

is at home in Alabama”). Plaintiffs’ allegation that BAM engages third-party

representatives or maintains certain remote workers, such as customer service

representatives, who reside in Alabama is similarly insufficient. (AC ¶ 37.) See

Associated Transp. Line, Inc. v. Productos Fitosanitarios Proficol El Carmen, S.A.,

197 F.3d 1070, 1075 (11th Cir. 1999) (holding that personal jurisdiction over an out-

of-state defendant “has been found lacking” despite allegations that “a company had

employees, agencies and salespeople regularly in the forum,” “was qualified to do

business in the forum,” “regularly solicited business” in the forum, and “derived

more than 26% of its income from the forum”); Pruitt, 358 So. 3d at 1149 (“Merely




6
  Plaintiffs’ reliance on an article published by an independent national website that reported that
BAM was now “approved” to operate in Alabama does not indicate that BAM itself solicited
business in Alabama, and, in any event, that type of national publicity is insufficient to plead that
BAM is at “home” in Alabama. (AC ¶ 36.) See Walden v. Fiore, 571 U.S. 277, 291 (2014) (“[I]t is
the defendant, not the plaintiff or third parties, who must create contacts with the forum State.”).

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having employees in a state, even in large absolute numbers, is not enough to make

a defendant at home there.”).

              2.     There Is No Specific Jurisdiction over BAM or Jurisdiction
                     under FRCP 4(k)(1)(C).
       To constitute minimum contacts for purposes of specific jurisdiction, the

defendant’s contacts with the applicable forum must satisfy three criteria.

       First, the contacts must be related to the plaintiff’s cause of action or have
       given rise to it. Second, the contacts must involve some act by which the
       defendant purposefully avails itself of the privilege of conducting
       activities within the forum ... , thus invoking the benefits and protections
       of its laws. Third, the defendant’s contacts with the forum must be such
       that [the defendant] should reasonably anticipate being haled into court
       there.
Kent, 2009 WL 10688923, at *2; see also HomeBingo Network, Inc. v. Chayevsky,

428 F. Supp. 2d 1232, 1241 (S.D. Ala. 2006) (to establish specific jurisdiction,

plaintiffs are required to plead that defendant’s contacts with the forum include

“activities [that] arise out of or relate to the cause of action”).

       The Amended Complaint asserts that this Court can exercise specific personal

jurisdiction over BAM based on FRCP 4(k)(1)(C), 18 U.S.C. § 2334(a), and

Alabama’s long-arm provision. (AC ¶¶ 29-30, 31).

       FRCP 4(k)(1)(C) provides that “[s]erving a summons or filing a waiver of

service establishes personal jurisdiction over a defendant . . . when authorized by a

federal statute.” Plaintiffs assert that service under 18 U.S.C. § 2334(a) is sufficient

here to establish jurisdiction. (AC ¶ 29.)

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      However, “even when a party is properly served [pursuant to Rule 4(k)(1)(C)],

a court’s exercise of personal jurisdiction must also comport with due process.”

Durham v. LG Chem., Ltd., 2022 WL 274498, at *2 (11th Cir. Jan. 31, 2022). “[T]o

exercise jurisdiction consistent with due process, the defendant’s suit-related

conduct must create a substantial connection with the forum.” Walden, 571 U.S. at

284. Where, as here, a plaintiff relies on a federal statute authorizing nationwide

service to establish personal jurisdiction under Rule 4(k)(1)(C), the court analyzes

the defendant’s contacts with the United States as a whole and whether the alleged

actions are sufficiently connected to the United States to provide specific personal

jurisdiction in the United States. See Associated Transp. Line, Inc. v. Productos

Fitosanitarios Proficol El Carmen, S.A., 197 F.3d 1070, 1074 (11th Cir. 1999); see

also Waldman v. Palestine Liberation Org., 835 F.3d 317, 337 (2d Cir. 2016).

      In an opinion issued today relating to the exercise of personal jurisdiction

under a different statute, the Supreme Court refused to endorse an “unbounded

jurisdictional theory” under Rule 4(k)(1)(C). See Fuld v. Palestine Liberation Org.,

2025 WL 1716140, at *10 (U.S. June 20, 2025). Instead, the Court noted that

although the jurisdictional due process analyses under the Fifth and the Fourteenth

Amendments could differ at times, they both may entail a similar “inquiry into the

reasonableness of the assertion of jurisdiction in the particular case.” See id. at *12.

The Court ultimately held that the statute at issue satisfied the contours of the Fifth


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Amendment in that case because it “ties federal jurisdiction to conduct closely

related to the United States that implicates important federal policy concerns.” Id. at

*10.

       Federal courts that have considered ATA’s nationwide service provision have

applied these due process principles to reject similar “unbounded jurisdictional

theor[ies].” Id. at *10. For example, in Waldman, the Second Circuit rejected the

plaintiffs’ argument that the court could exercise personal jurisdiction over the

defendants pursuant to the ATA’s nationwide service provision because “the statute

does not answer the constitutional question of whether due process is satisfied” and

the defendants’ alleged suit-related conduct did not establish the constitutionally

required nexus with the forum. Waldman, 835 F.3d at 337, 343-44 (citing Walden,

571 U.S. at 284). The Second Circuit emphasized that the plaintiffs failed to satisfy

due process because the alleged claims “did not arise from the defendants’

purposeful contacts with the [United States].” Id. at 343.

       The same is true here. The Amended Complaint does not allege that the claims

against BAM arise out of its contacts with the United States. “The question in this

case is whether the defendant[s’] suit-related conduct—their role in the . . . terror

attacks at issue—creates a substantial connection with the forum . . . pursuant to the

ATA.” Id. at 335. “The relevant ‘suit-related conduct’ by the defendant[] [is] the

conduct that could have subjected them to liability under the ATA.” Id. There can be


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no plausible allegations that BAM’s suit-related conduct is “closely related to the

United States” such that it could establish any connection between BAM and the

terror attacks at issue. See Fuld, 2025 WL 1716140, at *10. All that is alleged is that

BAM served as a “smokescreen” for others, which “culminat[ed] in the material

support that enabled the October 7th Attack,” and that certain customers were

transferred by other defendants to BHL’s exchange. (See AC ¶¶ 102, 105, 109.) Such

allegations are too attenuated to support a finding of personal jurisdiction. See Ex

parte Maint. Grp., Inc., 261 So. 3d 337, 346 (Ala. 2017) (“The requirement that a

defendant purposefully direct activity to the forum state precludes the exercise of

jurisdiction over a defendant whose affiliation with the forum state is ‘attenuated’ or

the ‘unilateral activity of another party or a third person.’”). There are no allegations

in the Amended Complaint regarding any BAM transactional activity in the United

States or that BAM’s platform was utilized by Hamas or any terrorist organization

in any way. (See AC ¶ 338.)7 Therefore, “[o]n its face, the conduct in this case d[oes]


7
  Plaintiffs’ cases discussing “minimum contacts” are inapposite. In Molex Co., LLC v. Andress,
887 F. Supp. 2d 1189, 1202 (N.D. Ala. 2012) (AC ¶ 40), the court explicitly “acknowledge[d] that
only defendant’s contacts with Alabama that are related to the claims asserted in this action are
part of the specific jurisdiction inquiry” (emphasis in original). There, constitutional concerns were
satisfied where defendant was sued for breach of fiduciary duty and violation of the Alabama Trade
Secrets Act stemming from his engagement as a consultant for plaintiff, an Alabama company, and
throughout his engagement conducted significant business in the state. Likewise, in Cable/Home
Communication Corp. v. Network Productions, Inc., 902 F.2d 829, 858 (11th Cir. 1990), the court
held it could exercise jurisdiction over nonresident defendants based on Florida’s tortious act
provision and defendants’ substantial business activity within the state revolving around a Florida
based technology that violated copyright and communications laws. There are no such allegations


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not involve [BAM’s] conduct in the United States in violation of the ATA[,]” and the

fixed limits of the Due Process Clause prohibit the exercise of personal jurisdiction

over BAM. Waldman, 835 F.3d at 335. 8

       C.      The Complaint Should Be Dismissed Pursuant to Rule 12(b)(6)
               Because It Fails to State a Claim Against BAM.
       It is axiomatic that “[a] complaint will be held defective if it fails to connect

the defendant with the alleged wrong.” Douglas v. Yates, 535 F.3d 1316, 1322 (11th

Cir. 2008) (quoting 5 Charles Alan Wright & Arthur R. Miller, Federal Practice and

Procedure § 1234 (3d ed. 2004)). This bedrock principle mandates dismissal of the

Amended Complaint because it is devoid of any allegations pertaining to any

actionable wrongdoing perpetrated by BAM (instead of “Defendants” or “Binance”).

Plaintiffs’ allegations specific to BAM either emphasize its compliance with U.S.

law or frame the alleged “wrongdoing” as Mr. Zhao or Binance’s purportedly

strategic decision to launch a fully compliant platform to serve U.S. customers, again




here, where Plaintiffs do not allege any activities by BAM in Alabama related to Plaintiff’s
allegations in the Amended Complaint.
8
  The Eleventh Circuit has not addressed nationwide process of service as basis for personal
jurisdiction under the ATA, but in examining the issue under different statutes, it has instructed
that if plaintiffs’ claims under the invoked statute are “insubstantial, implausible, or otherwise
completely devoid of merit,” plaintiffs “may not take advantage of the nationwide service of
process provisions” as a means of establishing personal jurisdiction. Rogers v. Nacchio, 241 F.
App’x 602, 605 n.1 (11th Cir. 2007); see also BCCI Holdings, 119 F.3d at 942 n.9; Moore v. eNom,
Inc., 2007 WL 9711946, at *3 n.8 (N.D. Ala. Nov. 9, 2007). As explained below, Plaintiffs’ claims
here are wholly insufficient to plead any improper conduct by BAM under the ATA, and thus,
Plaintiffs should not be allowed to invoke the ATA’s nationwide service of process provision.

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highlighting BAM’s own lack of wrongdoing. Because the Amended Complaint

alleges no misconduct by BAM—and, in fact, barely any conduct by BAM—FRCP

12(b)(6) requires dismissal. 9

              1.     Plaintiffs Fail to State an ATA/JASTA Claim Against BAM.

                     a.     The Complaint Fails to Allege Aiding-and-Abetting
                            Liability under the ATA/JASTA (Count I).

       In Count I, Plaintiffs allege that the “Defendants” violated the ATA/JASTA by

“aid[ing] and abett[ing] [Hamas and PIJ] in committing, planning, or authorizing

acts of international terrorism.” (AC ¶ 341.) But Plaintiffs’ allegations against BAM

cannot establish aiding-and-abetting liability under the ATA and binding Supreme

Court precedent.

       In Twitter, Inc. v. Taamneh, the Supreme Court held that JASTA liability

specifically requires that defendants “aided and abetted the act of international

terrorism that injured the plaintiffs” through “conscious, voluntary, and culpable

participation” in that specific terrorism act. 598 U.S. 471, 493, 497 (2023). There,

plaintiffs alleged that social media companies knowingly allowed ISIS to use their

platforms for fundraising and recruiting in order to profit from advertisements placed

on ISIS’s content. See id. at 481. The Court held that JASTA liability requires



9
  Additionally, BAM joins BHL and Mr. Zhao’s arguments that the non-U.S. national Plaintiffs
lack standing to bring ATA and JASTA claims, and the U.S. national Plaintiffs lack standing to
bring claims under the ATS.

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“conscious, voluntary, and culpable participation” in the specific act of international

terrorism at issue. Id. at 493. This analysis hinges on whether the defendant provided

knowing and substantial assistance to the primary tortfeasor. Id. at 491-92. “[T]hose

twin requirements . . . work[] in tandem,” i.e., “less substantial assistance require[s]

more scienter before a court c[an] infer conscious and culpable assistance.” Id. at

492.10 The Court ultimately concluded that plaintiffs failed to sufficiently plead

JASTA liability because (1) defendants did not provide “substantial” assistance to

ISIS because they did not treat ISIS “any differently from anyone else” and their

relationship was “arm’s length, passive, and largely indifferent,” (2) defendants did

not provide “knowing” assistance because claims of “passive[]” acts do not state a

claim for “culpable assistance,” and finally (3) there was “[a] lack of any concrete

nexus between defendants’ services and the [specific] attack.” Id. at 500-01.

        The Supreme Court very recently reiterated these strict requirements of

aiding-and-abetting liability in Smith & Wesson Brands, Inc. v. Estados Unidos

Mexicanos, 145 S. Ct. 1556, 1565-67 (2025). There, the Court addressed Mexico’s

claims that American gun manufacturers aided and abetted gun dealers’ unlawful

sales of guns to Mexican drug cartels by “supply[ing] firearms to retail dealers whom

they know illegally sell to Mexican drug traffickers.” Id. at 1564.


10
  The Court in Twitter “adapt[ed]” the framework articulated in Halberstam v. Welch, 705 F.2d
472 (D.C. Cir. 1983), to “ascertain” its “basic thrust.” Twitter, 598 U.S. at 488.

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      The Court clearly articulated (again) “[the] canonical formulation” that “an

aider and abettor must participate in a crime as in something that he wishes to bring

about and seek by his action to make it succeed.” Id. at 1565. Accordingly, “[t]o aid

and abet a crime, a person must take an affirmative act in furtherance of that

offense.” Id. (internal quotations and alterations omitted). “[A]iding and abetting

usually requires misfeasance rather than nonfeasance.” Id. at 1566. “Absent an

‘independent duty to act,’ a person’s ‘failure[s],’ ‘omissions,’ or ‘inactions’—even if

in some sense blameworthy—will rarely support aiding-and-abetting liability.” Id.

      The Court also emphasized that “routine and general activity that happens on

occasion to assist in a crime—in essence, ‘incidentally’—is unlikely to count as

aiding and abetting.” Id. “So, for example, an ‘ordinary merchant[ ]’ does not

‘become liable’ for all criminal ‘misuse[s] of [his] goods,’ even if he knows that in

some fraction of cases misuse will occur.” Id. (quoting Twitter, 598 U.S. at 489, 499).

“The merchant becomes liable only if, beyond providing the good on the open

market, he takes steps to ‘promote’ the resulting crime and ‘make it his own.’” Id.

      Applying these straightforward principles to Plaintiffs’ allegations makes

clear that the Amended Complaint fails to satisfy the elements of aiding-and-abetting

liability or to meet the rigorous requirements articulated by the Supreme Court.

      First, Plaintiffs fail to establish that BAM provided “substantial assistance”

to the attacks at issue here. The Amended Complaint does not allege that any of the


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underlying transactions were conducted via BAM’s platform or that BAM provided

any type of assistance to the perpetrators of these attacks. (See generally AC ¶¶ 175-

200; see also id. ¶ 322.) Indeed, there are no allegations in the Amended Complaint:

(i) describing BAM’s purported “substantial assistance” (whether in kind, amount,

or duration) to any terrorists, (ii) articulating any relationship or interaction between

BAM and the bad actors, or (iii) asserting a culpable state of mind on BAM’s part.

See Bernhardt v. Islamic Republic of Iran, 47 F.4th 856, 870-72 (D.C. Cir. 2022)

(finding no “knowing and substantial assistance” where plaintiff failed to allege

defendant’s “involvement with” the FTO, “any relationship, much less a close one,

between [defendant] and [the FTO],” or “defendant’s state of mind”); Newman v.

Associated Press, 758 F. Supp. 3d 1357, 1372-73 (S.D. Fla. 2024) (finding no

knowing and substantial assistance where plaintiffs’ “conclusory allegations [were]

inadequate to establish that any amount of money or assistance from the [defendant]

went to Hamas in carrying out its terrorist attacks,” “that the [defendant] participated

in the tortious conduct,” or “any ‘arms-length relationship’ between the [defendant]

and the Hamas-affiliates”); Wildman v. Deutsche Bank Aktiengesellschaft, 2022 WL

17993076, at *24 (E.D.N.Y. Dec. 29, 2022) (dismissing aiding-and-abetting claim

where complaint “is unclear how much of [the] alleged amount was actually remitted

by [defendant],” “does not allege” presence, alleged only an “attenuated” business




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relationship, and provided “insufficient evidence” of state of mind and duration),

appeal docketed, No. 23-132 (2d Cir. Jan. 30, 2023).

      Second, Plaintiffs fail to establish that BAM “knowing[ly]” provided

assistance to bring about the terrorist attacks at issue here “as in something that

[they] wishe[d] to bring about,” and “s[ought] by [their] action to make it succeed.”

Smith & Wesson, 145 S. Ct. at 1565; see also Linde v. Arab Bank, PLC, 882 F.3d

314, 329 (2d Cir. 2018) (plaintiffs need to plead that defendant was “‘aware’ that, by

assisting the principal, it is itself assuming a ‘role’ in terrorist activities.”). The

Amended Complaint alleges in conclusory fashion that BAM had “full knowledge,

or what should have been full knowledge, that its operations were being put to illegal

use.” (AC ¶ 323.) This is precisely the type of allegation rejected by the Supreme

Court in Smith & Wesson. 145 S. Ct. at 1567 (“When a company merely knows that

‘some bad actors’ are taking ‘advantage’ of its products for criminal purposes, it does

not aid and abet. And that is so even if the company could adopt measures to reduce

their users’ downstream crimes.”). Similar claims that BAM was “aware” of a

likelihood that its services were being exploited for some type of illegality by other

actors (AC ¶¶ 322, 323) amount to nothing more than allegations of “passive

nonfeasance” which “are rarely the stuff of aiding-and-abetting liability.” Smith &

Wesson, 145 S. Ct. at 1569; see also Strauss v. Crédit Lyonnais, S.A., 379 F. Supp.

3d 148, 164 (E.D.N.Y. 2019), aff’d 842 F. App’x 701 (2d Cir. 2021) (“Evidence that


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[d]efendant knowingly provided banking services to a terrorist organization, without

more, is insufficient to satisfy JASTA’s scienter requirement.”); Freeman v. HSBC

Holdings PLC, 465 F. Supp. 3d 220, 230 (E.D.N.Y. 2020) (even provision of “non-

routine or illegal” services including sanctions-evading transactions with entities

tied to terrorists does not establish culpable participation in terrorism).

      Finally, the Amended Complaint is devoid of any allegations of a “definable

nexus between [BAM’s] assistance and th[e] attack” at issue here. Twitter, 598 U.S.

at 503. The Amended Complaint does not come close to pleading such a connection

because it does not “pinpoint . . . any specific criminal transactions that [BAM]

(allegedly) assisted” occurring “at a particular time and place.” Smith & Wesson, 145

S. Ct. at 1567.

      As explained before, the Amended Complaint instead admits that any relevant

transactions did not occur on BAM’s platform. (See, e.g., AC ¶¶ 141, 143 (discussing

Hamas transactions on Binance.com in 2019, before BAM was created); id. ¶ 147

(alleging that “Binance was at the center of [Hamas] transactions”).) See Siegel v.

HSBC N. Am. Holdings, Inc., 933 F.3d 217, 225-26 (2d Cir. 2019) (holding AML

and sanctions violations insufficient for liability because they failed to show the

defendant bank “knowingly assumed a role in AQI’s terrorist activities or

substantially assisted AQI in those activities, specifically the November 9 Attacks”).




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        Plaintiffs inaccurately characterize—without well-pled allegations—BAM as

maintaining a “remittance operation so as to enable U.S. consumers to remit money

to FTO entities.” (AC ¶ 188.) However, Plaintiffs (at most) allege that certain U.S.

customers of BAM later became customers of BHL and then had “the ability”

(through BHL’s platform) to remit funds to OFAC-sanctioned accounts. 11 (See, e.g.,

AC ¶ 183; see also id. ¶¶ 120, 179.) These allegations do not plead any nefarious

conduct on BAM’s platform. Plaintiffs do not even allege that the accounts that were

transferred to BHL ultimately conducted pertinent transactions. Indeed, such

allegations are absent from the government enforcement actions that the Amended

Complaint relies upon so heavily, 12 none of which named BAM as a party.13

        Accordingly, because Plaintiffs fail to allege that BAM “consciously and

culpably participated in” violent terrorist attacks on civilians “so as to help make



11
  The AC’s claim that U.S. users who were sophisticated enough to utilize VPN software with the
explicit purpose of circumventing U.S. laws and conduct personal transactions on offshore
platforms were obtained through “BAM’s promotional activity and platform” is also nonsensical.
(AC ¶ 120.) BAM’s platform clearly displayed that it was intended solely for U.S. users and, as
Plaintiffs admit, was designed to comply with U.S. laws. (Decl. at 8-12, 14; AC ¶¶ 37, 71, 94.) A
user seeking to evade U.S. restrictions and to transact with sanctioned entities would have no
interest in BAM’s services and would not be attracted by its “promotional activity.”
12
  In discussing BHL’s settlement agreement with the Treasury Department’s Office of Foreign
Assets Control (“OFAC”), Plaintiffs claim that U.S. users on BHL’s platform “were obtained via
BAM Trading’s promotional activity and platform.” (AC ¶ 120.) The settlement agreement
contains no statement to this effect and provides no basis for this contention, which is nothing
more than Plaintiffs’ speculation. See generally OFAC Settlement Agreement.
13
  As explained above, BAM was named as a defendant in the SEC action which centered on the
status of cryptocurrencies as securities under U.S. laws and was recently voluntarily dismissed.
See supra note 4.

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[them] succeed,” Count I must be dismissed. Twitter, 598 U.S. at 493 (internal

quotations and alterations omitted).

                    b.     The Complaint Fails to State a Claim for Conspiracy
                           under the ATA/JASTA (Count II).
      In Count II, Plaintiffs allege that the “Defendants” “knowingly conspir[ed]

with Hamas and PIJ to facilitate its operations.” (AC ¶ 343.) A JASTA conspiracy

claim requires “(1) an agreement between two or more persons; (2) to participate in

an unlawful act . . . ; (3) an injury caused by an unlawful overt act performed by one

of the parties to the agreement; (4) which . . . was done pursuant to and in furtherance

of the common scheme.” Freeman v. HSBC Holdings PLC, 57 F.4th 66, 78 (2d Cir.

2023) (quoting Halberstam, 705 F.2d at 477).

      The Amended Complaint makes only one attenuated and conclusory reference

to BAM’s alleged conspiracy, claiming that “Binance and other Defendants in fact

covered Hamas’ and PIJ’s financial tracks.” (AC ¶ 324.) This falls far short of

plausibly alleging that BAM “conspired” to facilitate the specific terrorist attacks at

issue here. See In re Chiquita Brands Int’l Inc. Alien Tort Statute & Shareholders

Deriv. Litig., 690 F. Supp. 2d 1296, 1311 (S.D. Fla. 2010) (citing Fullman v.

Graddick, 739 F.2d 553, 556-57 (11th Cir. 1984)) (“A complaint may justifiably be

dismissed because of the conclusory, vague, and general nature of the allegations of

conspiracy.”).



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      Indeed, Plaintiffs fail to establish the most basic element of a conspiracy: an

agreement between BAM and any terrorist group. See Newman, 758 F. Supp. 3d at

1375 (plaintiffs must “plausibly allege [an] agreement to commit an act of

international terrorism”). None of the allegations concerning BAM support a

plausible inference that BAM entered into any agreement with Hamas or PIJ, or that

BAM had any contact or interaction with these organizations, and indeed, much

more would be required. See In re Chiquita Brands Int’l, Inc., 284 F. Supp. 3d 1284,

1316 (S.D. Fla. 2018) (finding that even allegations of direct payments to an FTO

did “not permit inference that [defendant] agreed with the [FTO], expressly or

impliedly, to murder American citizens abroad in Colombia”).

      Nor can Plaintiffs establish that BAM shared the necessary “common intent”

with the terrorist groups and was “pursuing the same object.” See Freeman, 57 F.4th

at 79-80. The Amended Complaint lacks any allegations that BAM shared Hamas’s

goal of attacking Israeli or American civilians. See id. at 80 (finding no “common

intent” where plaintiffs failed to “plead that the [b]anks intended to kill or injure U.S.

service members in Iraq, or that the terrorist groups agreed to help the [b]anks and

Iranian entities evade U.S. sanctions”). The allegations at most suggest that BHL,

not BAM, failed to employ adequate internal controls “to prioritize commercial

success over compliance with U.S. law.” (See, e.g., AC ¶ 104.) But it is well

established that profit motive alone is insufficient to plead a common scheme to


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commit acts of terror. See Bernhardt, 47 F.4th at 873 (finding no common objective

because allegations of defendants trying to make substantial profits by evading

sanctions were “wholly orthogonal” to the objective of the terrorists); Zobay v. MTN

Grp. Ltd., 695 F. Supp. 3d 301, 355 (E.D.N.Y. 2023) (rejecting plaintiffs’

“conclusory allegations that [d]efendants ‘each shared a common specific intent’ to

cause money and technology to flow through to terrorist campaigns” as insufficient

to show “a common scheme to commit an act of international terrorism”); see also

O’Sullivan v. Deutsche Bank AG, 2019 WL 1409446, at *9 (S.D.N.Y. Mar. 28, 2019)

(similar).

      Because the Amended Complaint fails to plead an “agreement” or a “common

scheme” between BAM and the perpetrators of the attacks at issue here as required

under the ATA, Plaintiffs’ conspiracy claim fails as a matter of law.

                   c.     Plaintiffs Fail to State a Claim for Primary Liability
                          under the ATA (Counts III and IV).

      In Counts III and IV, plaintiffs allege that the “Defendants” committed a

“primary” violation of the ATA by providing “material support” to Hamas and PIJ.

(AC ¶¶ 345, 349.) As Plaintiffs’ allegations fall short of establishing secondary

liability, they cannot establish primary liability. See Linde, 882 F.3d at 320 (JASTA

“expands ATA civil liability”).

      An ATA primary liability claim requires: “(1) an injury to a U.S. national, (2)

an act of international terrorism, and (3) causation.” Freeman v. HSBC Holdings

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PLC, 413 F. Supp. 3d 67, 82 (E.D.N.Y. 2019); see 18 U.S.C. § 2333(a) (providing a

cause of action to U.S. nationals injured “by reason of an act of international

terrorism”).

      To satisfy the statute’s definition of the second element (i.e., “international

terrorism”), Plaintiffs need to plead allegations against BAM which (1) “involve

violent acts or acts dangerous to human life”; (2) “qualify as ‘a violation of the

criminal laws of the United States or of any State’”; (3) “‘appear to be intended’ to

intimidate a civilian population, influence government policy, or affect the conduct

of a government by certain specified means”; and (4) “occur primarily outside the

United States or transcend national boundaries.” Licci v. Lebanese Canadian Bank,

SAL, 673 F.3d 50, 68 (2d Cir. 2012) (quoting 18 U.S.C. § 2331(1)(A)-(C)). Further,

provision of “routine financial services to members and associates of terrorist

organizations” is insufficient to plead that defendants committed an act of

international terrorism. Linde, 882 F.3d at 327.

      The allegations against BAM are a far cry from this rigorous standard. In

support of their primary-liability claims, Plaintiffs offer conclusory allegations that

“Defendants . . . collaborated to continue processing transactions that they knew to

be illegal,” and that unidentified “Defendants’ employees [ ] were aware” that

transactions were utilized by terrorist organizations. (AC ¶¶ 323, 327; see generally

AC ¶¶ 327-30.) Rule 12(b)(6) and the ATA require more. See Oxford Asset Mgmt. v.


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Jaharis, 297 F.3d 1182, 1188 (11th Cir. 2002) (“[C]onclusory allegations,

unwarranted deductions of facts or legal conclusions masquerading as facts will not

prevent dismissal.”).

      As explained above, Plaintiffs have failed to allege any conduct by BAM

linked to the alleged terrorist attacks. See supra pp. 21-22. Even if Plaintiffs had

plausibly alleged BAM’s involvement, they have—at most—made generalized

allegations regarding provision of financial services which “in and of itself, is

insufficient either to show that the services involved an act of violence or threat to

human life or to give the appearance that such services were intended to intimidate

or coerce a civilian population or government.” Weiss v. Nat’l Westminster Bank, 993

F.3d 144, 162-63 (2d Cir. 2021); see also Strauss, 379 F. Supp. 3d at 160 (“Evidence

that Defendant knowingly provided banking services to a terrorist organization,

without more, is insufficient to satisfy JASTA’s scienter requirement.”).

      Further, because Plaintiffs have failed to adequately allege BAM’s knowledge

of any terrorist-linked transactions (see supra pp. 23-24), they cannot establish

underlying violations of the material-support statutes. See Newman, 758 F. Supp. 3d

at 1378-80 (§§ 2339A and B respectively require “that the defendant acted with the

specific knowledge or intent that its support would be used in preparation for, or in

carrying out, one of the enumerated terrorism-related crimes” and with the

“knowledge” that an organization was engaged in terrorism).


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        Finally, because the Amended Complaint does not adequately allege any

connection between BAM and alleged terrorist-linked transactions, Plaintiffs cannot

establish that BAM proximately caused their injuries. 14 Conclusory assertions that

“Defendants’ violation of 18 U.S.C. § 2339B proximately caused the damages to

Plaintiffs” (AC ¶ 348; see also id. ¶ 346) are insufficient and should be rejected.

Rothstein v. UBS AG, 708 F.3d 82, 97 (2d Cir. 2013) (dismissing primary-liability

claim where there was “no nonconclusory allegation in the [c]omplaint that plausibly

show[ed]” a “proximate causal relationship between the cash transferred” by

defendant and terrorist attacks harming plaintiffs), superseded by statute on other

grounds; Newman, 758 F. Supp. 3d at 1380-81(similar).

        Accordingly, Plaintiffs’ claims that BAM is subject to primary liability for the

October 7 terrorist attacks fail on multiple fronts and should be dismissed.




14
   As set out in Mr. Zhao’s and BHL’s motions, Plaintiffs’ allegations against Defendants generally
are inadequate. (See Zhao Mot. Section III(C)(2); BHL Mot. Section IV(B).) Plaintiffs’ allegations
that without the Hamas- and PIJ-linked Binance transactions (which occurred at unspecified points
during inconsistently alleged time frames), those groups “would have been far less able to recruit,
train, equip and deploy their armed terrorist forces against civilians in Israel” (AC ¶ 345) fail to
establish that the transactions proximately caused the October 7 attacks. See In re Terrorist Attacks
on Sept. 11, 2001, 714 F.3d 118, 124 (2d Cir. 2013) (“We also are not persuaded that providing
routine banking services to organizations and individuals said to be affiliated with al Qaeda . . .
proximately caused the September 11, 2001 attacks or plaintiffs’ injuries.”); Adams v. Alcolac, Inc.,
2019 WL 4774006, at *6 (S.D. Tex. Sep. 6, 2019) (“[L]imited facts and stacked inferences are
insufficient to demonstrate proximate cause.”), aff’d, 974 F.3d 540 (5th Cir. 2020). These
allegations are further undermined by the fact that several Plaintiffs also claim that the actions of
the Associated Press proximately caused their injuries. See Newman, 758 F. Supp. 3d at 1364,
1381.

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              2.      Plaintiffs Fail to State a Claim for Negligence/Wantonness
                      (Count VI).15

        In Count VI, Plaintiffs allege that “Defendants’ conduct, including but not

limited to knowingly aiding, abetting, or conspiring with the FTO and/or its

affiliates, was negligent.” (See AC ¶ 359.) Plaintiffs’ claims for negligence and

wantonness are deficient. Their negligence claim, which appears to be based on a

flawed negligence per se theory, fails because as most named Plaintiffs are not U.S.

nationals as required by the ATA, they cannot establish any ATA violation by BAM,

and the AC lacks allegations of BAM’s wrongdoing. Absent an independent duty

owed to Plaintiffs, their negligence claim also fails under traditional principles. The

wantonness claim similarly fails due to these deficiencies and the absence of the

requisite mens rea pleading. Finally, Plaintiffs’ emotional-injury claims are barred

by Alabama’s “zone-of-danger” rule.

                      a.     Plaintiffs Fail to State a Claim for Negligence.
        Plaintiffs allege “all the same actions [they] say[] violate the [ATA],” rather

than demonstrating “a duty owed to [them] by [BAM] independent of the [ATA].�

Thus, although [Plaintiffs] cast[] it as an ordinary negligence claim, [they] appear[]

to be operating under a negligence per se framework.” Ismail v. Ascensionpoint


15
   Plaintiffs previously described their negligence claim “as an Alabama state law claim.” (Pls.’
Resp. Opp’n Mot. Transfer at 15, Newman v. BAM Trading Servs., Inc., No. 2:24-cv-00134 (M.D.
Ala. July 24, 2024), ECF No. 35.) Accordingly, BAM conducts its analysis under the framework
of Alabama state law principles.

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Recovery Servs., LLC, 2019 WL 5894311, at *9 (N.D. Ala. Nov. 12, 2019); see also

Winberry v. United Collection Bureau, Inc., 697 F. Supp. 2d 1279, 1294 (M.D. Ala.

2010) (equating negligence and negligence per se claims where both claims “are

founded on the FDCPA statutory duty” and the complaint “appears to identify the

allegedly breached duty in terms of the duties imposed by the FDCPA”).

      Under Alabama law, to establish negligence per se, a plaintiff must prove: (1)

that the statute the defendant is charged with violating was enacted to protect a class

of persons to which the plaintiff belonged; (2) that the plaintiff’s injury was the kind

of injury contemplated by the statute; (3) that the defendant violated the statute; and

(4) that the defendant’s violation of the statute proximately caused the plaintiff’s

injury. See Dickinson v. Land Devs. Constr. Co., 882 So. 2d 291, 302 (Ala. 2003);

Zatarain v. Swift Transp., Inc., 776 F. Supp. 2d 1282, 1290 (M.D. Ala. 2011).

Because Plaintiffs fail to allege three out of the four elements of negligence per se,

Count VI must be dismissed.

      First, Plaintiffs have not adequately pled the first element of negligence per

se because the majority of the named Plaintiffs do not allege that they fall within the

class of individuals the ATA was intended to protect. To bring an action under

the ATA, a plaintiff must be “a national of the United States.” See 18 U.S.C. §

2333(a); see also Averbach v. Cairo Amman Bank, 2020 WL 1130733, at *2

(S.D.N.Y. Mar. 9, 2020) (“18 U.S.C. § 2333(a) [] preclud[es] claims by foreign


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nationals (who just so happen to be survivors and heirs of U.S. nationals killed in

the terrorist attacks at issue in this case) . . . . Nowhere in the statute does Congress

provide remedies for non-nationals claiming damages for personal injuries.”);

Lelchook v. Lebanese Canadian Bank, 2024 WL 967078, at *9 (S.D.N.Y. Mar. 6,

2024) (“[B]ecause [plaintiff] is not an American citizen, she may only sue in a

representative capacity and is thus precluded from bringing her own personal claims

[under the ATA].”). Nineteen of the twenty-five named Plaintiffs are not U.S.

nationals, or their nationality has not been pled. See AC ¶¶ 49 (Israeli), 51 (two

Israeli individuals), 52-53 (nationality unclear as previously pled Israeli in AC ¶ 50),

54-55 (three Israeli individuals), 59 (Israeli), 60 (Israeli), 61 (Israeli), 63 (Israeli),

64-65 (Israeli), 66 (Israeli), 67 (unknown), 68 (Israeli). Additionally, four named

Plaintiffs, Lishay Levi, David Bromberg, Lior Bar Or, and Ariel Ein-Gal, do not have

a nationality listed in the Amended Complaint.

      Second, Count VI should be dismissed because Plaintiffs have not sufficiently

pled the third element of negligence per se, as they fail to allege that BAM violated

the statute at issue. See supra Section II(C)(1). An essential element of negligence

per se is the violation of a statute. See Pruitt v. Oliver, 331 So. 3d 99, 108 (Ala. 2021)

(the ultimate conclusion of whether a defendant was negligent per se depended

“upon the proper legal classification” of certain elements of that statute). As

demonstrated above, Plaintiffs’ allegations fall short of establishing that BAM


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violated any provision of the ATA.

        Third, Count VI fails because Plaintiffs have not adequately pled the fourth

element of negligence per se, as the Amended Complaint does not allege any

wrongdoing by BAM, let alone proximate causation of alleged injuries. See supra

Section II(C)(1). Alabama law defines proximate cause as “an act or omission that

in a natural and continuous sequence, unbroken by any new independent causes,

produces the injury and without which the injury would not have occurred.” Kirksey

v. Schindler Elevator Corp., 2016 WL 3189242, at *19 (S.D. Ala. June 7, 2016).

Plaintiffs do not allege that any terrorist-linked transactions occurred on the BAM

platform; therefore, any alleged injuries resulting from the attacks at issue could not

have been proximately caused by BAM. And Plaintiffs’ own sources cited in the

Amended Complaint demonstrate the improbability that any cryptocurrency-related

transactions resulted in said attacks. (See AC ¶ 147 n.33 (“[C]rypto is not the main

source of money for Hamas and affiliated groups such as Palestinian Islamic Jihad .

. . Iran is by far the largest source, to the tune of $100 million a year. . . . Crypto is a

very small part of Hamas’ fundraising strategy. . . . There’s a focus on it because you

are trying to cut off financing by any means. But it’s a relatively small part of the

picture.”).)16


16
   Citing https://www.coindesk.com/consensus-magazine/2023/10/11/hamas-has-raised-millions-
in-crypto-donations-wsj.

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      The Amended Complaint’s allegations fail even under traditional negligence

principles because the Amended Complaint is barren of a single reference to any

duty BAM owed Plaintiffs. See Martin v. Arnold, 643 So. 2d 564, 567 (Ala. 1994)

(“To establish negligence, the plaintiff must prove: (1) a duty to a foreseeable

plaintiff; (2) a breach of that duty; (3) proximate causation; and (4) damage or

injury.”). Under Alabama law, an individual does not “owe a ‘duty to protect another

from the criminal acts of a third person’” absent a “special relationship” or “special

circumstances.” Chen Jun v. Regions Bank, 2020 WL 5603527, at *7 (N.D. Ala. Sep.

18, 2020) (quoting Smith v. AmSouth Bank, Inc., 892 So. 2d 905, 909 (Ala. 2004).

Allegations of a deficient KYC protocol—by BHL, not BAM—pursuant to the Bank

Secrecy Act (“BSA”) still do not establish a legal duty to Plaintiffs, who have no

relationship to BAM at all. See Chen Jun, 2020 WL 5603527, at *9 (Federal courts

“have overwhelmingly held that KYC regulations under the [BSA] do not impose a

duty upon banks to monitor accounts for the benefit of noncustomers”); see also

Marlin v. Moody Nat’l Bank, N.A., 2006 WL 2382325, at *7 (S.D. Tex. Aug. 16,

2006) (similar); Smith, 892 So. 2d at 909 n.2 (“Every court that has examined the

issue has answered that banks owe no duty of care to noncustomers.”); Lee v. Foris

DAX, Inc., 2025 WL 1084794, at *10 (N.D. Cal. Apr. 10, 2025) (affirming this

principle for cryptocurrency exchanges). Similarly, a BSA violation cannot impose

a duty to ensure that “account holders did not misuse funds.” Chen Jun, 2020 WL


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5603527, at *8; see also Marlin, 2006 WL 2382325, at *7 (finding that the BSA

“does not create a private right of action and, therefore, does not establish a standard

of care”).

                    b.     Plaintiffs Fail to State a Claim for Wantonness.

      Plaintiffs’ wantonness claim fails for the same reasons. Wantonness requires

that a defendant, “with reckless indifference to the consequences, consciously and

intentionally did some wrongful act or omitted some known duty.” Harris v. Liberty

Home Equity Sols., Inc., 2018 WL 4075903, at *2 (N.D. Ala. Aug. 27, 2018). “To be

actionable, that act or omission must proximately cause the injury of which the

plaintiff complains.” Martin, 643 So. 2d at 567. “Breach of some legal duty is a

fundamental element of claims for both negligence and wantonness.” Gardner v.

MGC Mortg., Inc., 2013 WL 800741, at *4 (M.D. Ala. Mar. 4, 2013); see also E.H.

v. Overlook Mountain Lodge, 638 So. 2d 781, 783 (Ala. 1994) (recognizing duty as

an “essential element[] of a negligence or wantonness action”). Thus, the Amended

Complaint’s shortcomings for negligence (i.e., lack of allegations demonstrating a

legal duty and proximate cause) likewise preclude Plaintiffs’ wantonness claim.

      Even assuming that Plaintiffs had established a legal duty and proximate

cause, their wantonness claim would still fail because the Amended Complaint is

devoid of any allegation that any Defendant, much less BAM, possessed the requisite

mens rea for wantonness. Plaintiffs allege that “Defendants [not BAM] knew or


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should have known that providing material support to an FTO” would result in harm

to Plaintiffs. (AC ¶ 362.) However, this type of conclusory allegation does not meet

the high standard for wantonness, which requires “the conscious doing of some act,

or the omission of some duty, under knowledge of existing conditions and while

conscious that from the doing of such an act or omission of such duty injury will

likely or probably result.” Ridgeway v. CSX Transp., Inc., 723 So. 2d 600, 608 (Ala.

1998). Because Plaintiffs do not allege that BAM’s platform was being used to harm

them, let alone that BAM had knowledge of any alleged harm, they have failed to

state a claim for wantonness.

                       c.     Plaintiffs Cannot Recover for Emotional Injuries
                              Under Alabama’s “Zone-of-Danger” Test.

        Finally, seventeen of the twenty-five named Plaintiffs17 were not present at

the October 7 terrorist attacks and therefore cannot recover for their alleged

emotional injuries as a matter of law. It is well established in Alabama that recovery

for mental anguish under either a negligence or a wantonness theory requires the

plaintiff to have been within the “zone-of-danger.” Ex parte Grand Manor, Inc., 778

So. 2d 173, 179 (Ala. 2000). This test limits recovery to those who either sustained

a physical injury or were “placed in immediate risk of physical harm” by the


17
   Noach Newman (FAC ¶ 44); Adin Gess (id. ¶ 46); Iris Weinstein Haggai (id. ¶ 50); Ahl Haggai
(id. ¶¶ 54, 55); Rahm Haggai (id. ¶¶ 54, 55); Zohar Haggai (id. ¶¶ 54, 55); Ora Cooper (id. ¶ 51);
Rotem Cooper (id. ¶ 51); Ayelet Samerano (id. ¶ 63); Hagar Almog (id. ¶ 49); John Doe (id. ¶¶ 56,
57); Schachar Levy (id. ¶ 67); Richard Roe (id. ¶ 58); Talik Gvili (id. ¶¶ 64, 65); Roee Baruch (id.
¶ 66); James Poe (id. ¶ 68); Jane Moe (id. ¶ 62).
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defendant’s conduct. Id.; see also AALAR Ltd., Inc. v. Francis, 716 So. 2d 1141, 1147

(Ala. 1998) (holding that one plaintiff bringing negligence and wantonness claims

could not recover for emotional injury because he did not sustain a physical injury,

nor was he placed in immediate risk of physical harm). By their own admission,

these seventeen Plaintiffs were not present at the attack and were therefore never in

the “zone-of-danger.” Accordingly, their claims for emotional injury must fail.

        D.     Plaintiffs Fail to Establish that BAM Is the “Alter Ego” of BHL or
               Mr. Zhao.

        Plaintiffs cannot cure the deficiencies in their jurisdictional allegations (the

failure to plead that BAM had any suit-related contacts with Alabama or the United

States) or substantive allegations (the failure to plead that BAM played any role in

the transactions underlying their claims) through an “alter ego” or “veil piercing”

theory. 18

        To sufficiently plead an alter-ego theory, Plaintiffs are required to establish

“extraordinary circumstances,” Gilbert v. James Russell Motors, Inc., 812 So. 2d

1269, 1273 (Ala. Civ. App. 2001), necessary to overcome the “well settled”

presumption “that a corporation is a legal entity existing separately from its



18
   The applicable law for an alter-ego analysis depends on whether it is used to establish personal
jurisdiction or liability: for personal jurisdiction, Alabama law applies; for liability, the law of the
state of incorporation applies. See Comeens v. HM Operating, Inc., 2014 WL 12650102, at *5
(N.D. Ala. Dec. 1, 2014) (applying Alabama’s alter-ego test for jurisdictional purposes); Euroboor
B.V. v. Grafova, 2021 WL 4325694, at *11, 17 (N.D. Ala. Sep. 23, 2021) (applying law of state of
incorporation to alter-ego analysis for liability).
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shareholders,” First Health, Inc. v. Blanton, 585 So. 2d 1331, 1334 (Ala. 1991). See

also Gracey v. Albawardi, 2024 WL 5116368, at *5 (Del. Ch. Dec. 13, 2024)

(“Delaware law presumes respect for the corporate form. . . . As such, persuading a

Delaware court to disregard the corporate entity is a difficult task.”).

      rPlaintiffs’ alter-ego theory fails for multiple reasons, including that this

theory has been repeatedly rejected by other courts, the vast majority of Plaintiffs’

allegations do not relate to purported control during the relevant time period, and, in

any event, the AC fails the exacting standard for piercing the corporate veil under

either Alabama or Delaware law.

      As an initial matter, numerous courts have rejected similar arguments that

BAM is the alter ego of BHL or other Binance-related entities. See Reynolds v.

Binance Holdings Ltd., 481 F. Supp. 3d 997, 1008 (N.D. Cal. 2020) (rejecting

argument that BAM and BHL were alter egos based on allegedly overlapping

directors and shared software); Kuklinski v. Binance Cap. Mgmt., 2023 WL 2788654,

at *7 (S.D. Ill. Apr. 4, 2023) (concluding that BAM and Binance Capital

Management were not alter egos); Cox v. CoinMarketCap OpCo, LLC, 2023 WL

1929551, at *15 (D. Ariz. Feb. 10, 2023), rev’d in part on other grounds by 112 F.4th

822 (9th Cir. 2024) (same); cf. Guarini v. Doe, 634 F. Supp. 3d 1100, 1106 (S.D. Fla.

2022) (declining to impute BAM’s jurisdictional contacts because “the public




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records cited by Defendant establish that . . . Binance.US is not affiliated with the

Binance that has been sued in this action”).

      Additionally, Plaintiffs’ theory suffers from a fatal flaw: their allegations do

not make a showing of control “at the time of the attacked transaction” to establish

alter-ego status. Shorter Bros. v. Vectus 3, Inc., 343 So. 3d 508, 514 (Ala. 2021); see

also ECB USA, Inc. v. Savencia, S.A., 2025 WL 254504, at *2 (D. Del. Jan. 16, 2025)

(cabining alter-ego analysis to the “relevant times related to the case” and

“conclud[ing] that [d]efendants have not sufficiently demonstrated that [p]laintiffs

were the alter ego of SFI in the relevant time period”); JPMorgan Chase Bank, N.A.

v. Ballard, 213 A.3d 1211, 1248 (Del. Ch. 2019) (assessing whether alleged alter ego

“is and was at all relevant times the alter ego of [the defendant]”).

      Contrary to Plaintiffs’ conclusory assertion that “[a]t all relevant times,

Binance and CZ fully controlled BAM Trading” (AC ¶ 34), virtually all their

allegations predate 2023 and therefore cannot establish that BAM was either’s alter

ego when any transaction plausibly connected to the October 7 attacks occurred.

Plaintiffs acknowledge, for example, that Mr. Zhao was chairman of BAM Trading

and BAM Management’s boards “until approximately March 2022” (AC ¶ 219).

Similarly, Plaintiffs cite complaints about Mr. Zhao’s influence on BAM policies

made by former CEOs who resigned in March 2021 and August 2021 (id. ¶¶ 80,

221, 225-27), and they allege that BAM employees lacked control over its bank


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accounts “[u]ntil at least December 2020”—expressly conceding that BAM

“assume[d] control” over its bank accounts after that point (id. ¶¶ 228, 251). These

allegations fall outside the period relevant to their claims.19 The bulk of Plaintiffs’

allegations therefore are irrelevant to whether Mr. Zhao and BHL exercised control

over BAM at the time when the October 7 attacks were financed.

        Moreover, as explained below, Plaintiffs’ allegations fail to meet the

applicable alter-ego tests for jurisdiction or liability. Plaintiffs seek to repurpose a

mishmash of allegations from regulatory agency complaints and settlements to

contend that BAM is essentially one and the same with Mr. Zhao and BHL, without

contesting that BAM (i) maintains legitimate business operations separate from


19
   See AC ¶ 192 (complaints by CFO in November 2020); id. ¶ 194 (allegations that BAM had
limited access to data “through much of 2021”); id. ¶ 221 (allegations about control of BAM
technology in 2021); id. ¶ 222 (financing of BAM “[a]s of July 2020”); id. ¶ 228 (allegations
concerning BAM’s bank accounts in December 2020); id. ¶ 229 (statement about internal
separation between BAM and Binance in November 2019); id. ¶ 232 (allegations that Binance
personnel dictated BAM’s “early operations”); id. ¶¶ 233-44, 296, 300 (transfers from BAM to
Merit Peak in 2020 and “the first three months of 2021”); Angus Berwick & Tom Wilson,
Exclusive: Crypto giant Binance controlled ‘independent’ US affiliate’s bank accounts, Reuters
(June     5,      2023),    https://www.reuters.com/technology/crypto-giant-binance-controlled-
independent-us-affiliates-bank-accounts-2023-06-05/ (article cited at AC ¶¶ 245-46 stating that
Binance executive operated BAM bank accounts in 2019 and 2020 and specifying that the article’s
authors did not review records for periods other than January to March 2021); AC ¶ 247 (alleging
Mr. Zhao approved large business expenditures “through at least January 30, 2020” and an
additional expense “in January 2021”); id. ¶¶ 129, 254, 267 (Binance executive was a signatory
on BAM accounts until December 2020 and a trust company account until July 2021); id. ¶¶ 256-
57 (transfers in June and December 2020); id. ¶ 259 (BHL’s custodian status “through December
2022”); id. ¶¶ 264-65 (describing audits in 2020 and 2022); id. ¶ 261 (Binance employees worked
on Binance.US platform through December 2022); id. ¶ 276 (Merit Peak traded on Binance.US
from 2019 to 2021, Sigma Chain traded on Binance.US until April 2022); id. ¶¶ 282, 287
(complaints by BAM employees and executives in 2020); id. ¶ 288 (personnel decisions in March
2021).

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BHL, i.e., a functioning, regulated U.S. cryptocurrency exchange (see Decl. ¶¶ 4-8);

(ii) observes corporate formalities (see Decl. ¶¶ 7, 15-20, 29, 33-34); (iii) transacts

with BHL on an arm’s-length basis (see Decl. ¶¶ 23-24), and (iv) is adequately

capitalized, rather than a mere shell designed to evade liability (see Decl. ¶¶ 25-29).

These factors eviscerate Plaintiffs’ theory under either Alabama or Delaware law.

             1.     Plaintiffs Cannot Establish that BAM Is an Alter Ego for
                    Jurisdictional Purposes.
      Alabama courts and “[t]he Eleventh Circuit ha[ve] recognized that personal

jurisdiction may be based on an alter ego theory when a subsidiary’s ‘separate

corporate status is formal only’ and has no ‘semblance of individual identity.’” Mack

v. CooperSurgical, Inc., 2023 WL 2653365, at *4 (M.D. Ala. Mar. 27, 2023) (quoting

Meier ex rel. Meier v. Sun Int’l Hotels, Ltd., 288 F.3d 1264, 1272 (11th Cir. 2002));

Blanton, 585 So. 2d at 1334 (“[p]iercing the corporate veil is not a power that is

lightly exercised”). Accordingly, Alabama law will not allow the corporate structure

to be disregarded under an alter-ego theory unless “it is used solely to avoid a

personal liability of the owner while reserving to the owner the benefits gained

through use of the corporate name.” Messick v. Moring, 514 So. 2d 892, 894 (Ala.

1987). To satisfy this burden, Plaintiffs need to establish three elements: (1) “[t]he

dominant party must have complete control and domination of the subservient

corporation’s finances, policy and business practices so that at the time of the

attacked transaction, the subservient corporation had no separate mind, will, or

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existence of its own”; (2) “[t]he control must have misused by the dominant party”;

and (3) “[t]he misuse of this control must proximately cause the harm or unjust loss

complained of.” Blanton, 585 So. 2d at 1334-35.

       As a threshold matter, with respect to BAM, Plaintiffs ask the Court to engage

in “‘reverse veil piercing,’ in which a corporation is held liable for the [acts] of a

principal.” SEC v. Torchia, 729 F. App’x 772, 777 (11th Cir. 2018). However, this

theory is not even recognized under Alabama law. See Meeks v. Budco Grp., 631 So.

2d 915, 916-17 (Ala. 1993) (“[Plaintiff] asks us to consider a theory he calls ‘reverse

piercing of the corporate veil’. . . this Court is unaware of [that theory’s] existence

outside of [plaintiff’s] brief.”).

       Setting this major issue aside, Plaintiffs cannot meet the elements necessary

to establish alter ego. Alabama courts have consistently held that the allegations of

“[o]wnership and advisory management” that Plaintiffs rely upon are insufficient to

establish that BAM is Mr. Zhao’s alter ego. Stewart v. Bureaus Inv. Grp., LLC, 2015

WL 7572312, at *11 (M.D. Ala. Nov. 24, 2015); see also Simmons v. Clark Equip.

Credit Corp., 554 So. 2d 398, 400 (Ala. 1989) (“The mere fact that a party owns all

or a majority of the stock of a corporation does not, of itself, destroy the separate

corporate identity.”). Although Plaintiffs paint Mr. Zhao’s influence over some BAM

business decisions as sinister, their own allegations supply the more benign

explanation: Mr. Zhao is a majority owner in BAM’s parent company and, until


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2022, served as Chairman of its Board and exercised some degree of influence as an

appropriate function of his official executive position (AC ¶¶ 75, 124).20 See Wright

v. Alan Mills, Inc., 567 So. 2d 1318, 1319 (Ala. 1990) (finding owner’s involvement

in even the “day-to-day operations of the corporation” insufficient to find alter ego).

        Further, “[m]ere domination or control of a corporation by its stockholder

cannot be enough to allow a piercing of the corporate veil absent misuse of control

and harm or loss resulting from it.” Blanton, 585 So. 2d at 1335. Here, Plaintiffs do

not allege that any control that Mr. Zhao or BHL had over BAM was misused to

proximately cause the harm they suffered. Plaintiffs allege that BAM was

established to function as a regulatory “smokescreen” for BHL, by redirecting and

bearing the brunt of U.S. regulatory attention. (AC ¶¶ 178, 191.) Not only did BAM’s

role in this alleged scheme center on its compliance with U.S. law, U.S. regulators—

not Plaintiffs—were the focus of any supposed deception. (See AC ¶ 285 (alleging

that Binance intended to “deceive regulators”).)

        Nor does Plaintiffs’ allegation that “Binance” purportedly “instructed” certain

of BAM’s U.S. customers to make accounts on its platform through the use of VPNs

aid their alter-ego theory. (See, e.g., AC ¶¶ 95-98, 102, 103, 132, 175-76, 187, 214.)

This allegation does not support the inference of misuse or manipulation of any of



20
  Plaintiffs do not contest that Mr. Zhao never served as an officer or employee of BAM. (See
Decl. ¶ 17.)
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BAM’s internal systems or operations. See Rotor Blade, LLC v. Signature Util.

Servs., LLC, 545 F. Supp. 3d 1202, 1216 (N.D. Ala. 2021) (rejecting alter-ego theory

where plaintiff failed to “allege facts plausibly showing that [defendant] dominated

[the corporation] or misused his power in a way that harmed [plaintiff]”).

      Plaintiffs’ allegations of transactions involving BAM’s funds again do not

support a theory of misuse or a link to the alleged loss. See Heisz v. Galt Indus., 93

So. 3d 918, 931 (Ala. 2012) (transactions directed by the shareholder who allegedly

controlled the corporation did not constitute evidence of misuse absent evidence that

“those transactions were somehow unfair, fraudulent, or otherwise not legitimate”).

      Moreover, the Amended Complaint cannot draw a plausible link between any

purported control or misuse of BAM and the attacks through a series of speculative

leaps, including that (1) certain of BAM’s customers were migrated to BHL’s

platform (without BAM’s participation), (2) those customers transacted on a

platform that was violating U.S. law, and (3) the funds of those customers could have

algorithmically and “randomly” been matched to illicit orders. (AC ¶ 204; see also,

e.g., AC ¶¶ 119, 120, 122, 171.) See Snow v. DirecTV, Inc., 450 F.3d 1314, 1318

(11th Cir. 2006) (“[V]ague and conclusory allegations . . . are insufficient to establish

a prima facie case of personal jurisdiction.”).

      Nor does Mr. Zhao’s alleged involvement with both BAM and BHL support

Plaintiffs’ theory that BAM is BHL’s alter ego, given the absence of allegations that


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BHL holds any ownership interest in BAM. See MGF Healthcare Partners, Inc. v.

Blue Ridge Healthcare Birmingham, LLC, 542 F. Supp. 3d 1237, 1242 (N.D. Ala.

2021) (“Alabama law does not allow corporate veil-piercing to reach ‘[an entity]

who is associated with a corporate entity,’ but . . . is not themselves a shareholder,

officer, or director.”); see also Madison Cnty. Commc’ns Dist. v. CenturyLink, Inc.,

2012 WL 6685672, at *4 (N.D. Ala. Dec. 20, 2012) (“[G]enerally the corporate veil

cannot be pierced horizontally between sibling corporations.”). Further, even in rare

cases in which courts consider “horizontal” veil-piercing, the burden is “higher.”

Keenan v. Matchmaker Int’l, Inc. of Mobile, 1999 WL 33590522, at *6 (S.D. Ala.

Jan. 20, 1999). “Rather than merely showing dominance, control, or micro-

management by the parent of the subsidiary, as one would be required to do in a

vertical veil piercing . . . in order to conduct a horizontal piercing, the plaintiff must

show that the corporate form is but a mirage.” Id.

      Plaintiffs’ innocuous allegations that suggest BHL “controlled” BAM are

insufficient to meet this “higher” burden. See id. For instance, they allege that BAM

entered into licensing agreements with BHL regarding software and technology

services, or custody arrangements. (See AC ¶¶ 74, 200). But the Amended Complaint

contains no allegation that these dealings between BAM and BHL did not occur at

arm’s length, and Plaintiffs themselves allege that the BHL personnel who provided

these services “‘operated independently of’ BAM Trading” such that BAM


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employees would interact with them only when they needed technological or

software issues resolved. (Id. ¶ 250 (emphasis added); see also Decl. ¶ 23 (BHL

provides software and trademark licenses to BAM pursuant to arm’s-length service

agreements).) See Wright, 567 So. 2d at 1319 (holding that owner writing checks on

the corporation’s account to herself and her son’s business did not render the

corporation her alter ego where they “were arm’s-length transactions made in the

ordinary course of business”); see also Reynolds, 481 F. Supp. 3d at 1006-07 (finding

that allegations that BAM and BHL shared a website, wallet technology, and other

software described “administrative” functions insufficient to establish alter ego).

       Moreover, the Amended Complaint lacks allegations regarding many of the

most significant factors critical to an alter-ego analysis under Alabama law. See

Simmons, 554 So. 2d at 401 (factors permitting piercing the corporate veil include

failure to “observe the corporate form,” “maintain[ing] no corporate records,”

“maintain[ing] no corporate bank account,” and “ha[ving] no employees”). Plaintiffs

cannot dispute that BAM has its own Board, makes its own employment decisions,

maintains its own employee handbooks, maintains its own terms of use for its

Platform and its own policies and procedures for its operations, has its own

employees and office space, pays its own expenses and debt obligations, prepares its

own tax returns, and maintains its own bank accounts. (See Decl. ¶¶ 15-16, 19-23,

27-30.) See Thornton v. Bayerische Moteren Werke AG, 439 F. Supp. 3d 1303, 1312


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(N.D. Ala. 2020) (rejecting alter-ego theory where companies were “separate legal

entities that maintain distinct policies and procedures for their respective

operations”); Madison Cnty. Commc’ns Dist., 2012 WL 6685672, at *3 (rejecting

alter-ego theory where there were no allegations “that any entity failed to maintain

its corporate existence, neglected to keep separate corporate and accounting records,

or used assets of employees of other entities as their own regardless of corporate

boundaries”); S. Ala. Pigs, LLC v. Farmer Feeders, Inc., 305 F. Supp. 2d 1252, 1258-

59 (M.D. Ala. 2004) (no evidence that corporation failed to follow corporate

formalities where it “had its own bank account and paid its debts from this account”).

Nor do Plaintiffs allege that BAM was inadequately capitalized. Gilbert, 812 So. 2d

at 1273 (rejecting alter-ego theory where there were no allegations that corporation

“was inadequately capitalized” or “that the amounts invested in [corporation] were

inadequate for the purposes of operating the business”). (See Decl. ¶ 26 (BAM has

maintained sufficient capital resources since its launch).) Not only is the failure to

allege these factors fatal under Alabama law, courts have repeatedly cited similar

pleading deficiencies to reject alter-ego claims against BAM specifically. See

Reynolds, 481 F. Supp. 3d at 1007 (rejecting alter-ego theory where plaintiff failed

to allege that BAM and BHL “held [themselves] out as liable for the debts of the

other,” “inadequate capitalization, disregard for corporate formalities, [or]

segregation of corporate records”); Cox, 2023 WL 1929551, at *14 (rejecting alter-


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ego theory where there were no allegations that separate Binance entity paid BAM’s

debts, expenses, or salaries, or that BAM was inadequately capitalized).

        Further, legitimate operations strongly undermine a finding of alter ego. See

Gilbert, 812 So. 2d at 1273-74 (rejecting alter-ego argument where corporation “was

created to buy and sell” and the “evidence indicate[d] without dispute that [it] was

operated in accordance with its stated purpose, that of buying and selling

automobiles”). Plaintiffs, despite their framing, do not—and obviously could not—

allege that BAM’s platform did not in fact function as a cryptocurrency exchange,

available to U.S. users and subject to U.S. regulations.

        Plaintiffs stretch and embellish the regulatory sources they rely on to paint a

sensationalistic, but inaccurate, picture of the agencies’ claims and findings.21 For

example, Plaintiffs cite the revocation of BAM’s North Dakota money transmitter

license and the voluntary surrender of its Georgia money transmitter license to allege

that “BAM has failed to comply” with state laws. (See AC ¶¶ 309-17.) This assertion




21
   Beyond these embellishments, Plaintiffs’ theory is based not only on unsupported allegations,
but also inaccurate allegations. For example, Plaintiffs assert without citation that BHL’s Terms of
Use “refer to BAM as a ‘fiat gateway’ for Binance.” (AC ¶ 180.) Plaintiffs appear to have copied
this allegation from an unverified complaint in a different case. See Compl., Osterer v. BAM
Trading Servs., Inc., No. 23-cv-22083 (S.D. Fla. June 6, 2023), ECF No. 1. But BHL’s current
Terms of Use make no reference to “fiat gateways.” Terms of Use, Binance (May 6, 2025),
https://www.binance.com/en/terms. And although an earlier version of Binance’s terms discussed
fiat gateways, it did not refer to BAM as a “fiat gateway” for Binance, and in fact it made no
reference to BAM or its exchange at all. See https://web.archive.org/web/
20230620202159/https://www.binance.com/en/terms (June 2023 Terms of Use).

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is inaccurate and misleading. The revocation of the North Dakota license came after

Mr. Zhao’s guilty plea and stemmed from state statutes that provide for the

revocation of licenses issued to companies whose owners or executives are

convicted of a crime. (See AC ¶¶ 309-17.) The applicable North Dakota statute

applies to individuals “exercising control” over a licensee and uses a narrow and

innocuous definition of “control”: holding 25 percent of voting shares, “[t]he power

to elect or appoint a majority of key individuals or executive officers,” or direct or

indirect controlling influence over the company’s management or policies. N.D.

Cent. Code § 13-09.1-01(7).22 Similarly, Georgia law provides for revocation if “any

person who is a director, officer, partner, covered employee, or ultimate equitable

owner of ten (10) percent or more of a licensee has been convicted of a felony.”23

Neither decision is premised on any purported involvement by BAM in the




22
   The North Dakota Department of Financial Institutions also determined that BAM had
committed a state-law violation unconnected to Plaintiffs’ claims (holding funds in “a type of asset
which does not meet [North Dakota’s] requirements of a permissible investment, and suspending
payments and withdrawals of fiat currency). Order for Revocation, In Re BAM Trading Services
Inc. (N.D. Dep’t Fin. Inst.), https://www.nd.gov/dfi/sites/www/files/documents/Orders/
Order%20-%20Revocation%20Notice%20of%20Right%20to%20Request%20Hearing.pdf (cited
at AC ¶ 102 n.91).
23
   See AC ¶ 314 n.92 (citing BAM Trading Services, Inc. d/b/a Binance.US Voluntarily Surrenders
Georgia License, Ga. Dep’t Banking and Finance (Aug. 1, 2024), https://dbf.georgia.gov/press-
releases/2024-08-01/voluntarily-surrenders-georgia-license).

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underlying criminal cases, and neither made any finding that Mr. Zhao controlled

BAM under the applicable alter-ego requirements. 24

        Plaintiffs’ allegations fail to establish that BAM was an alter ego of either

BHL or Mr. Zhao.

               2.     Plaintiffs Cannot Establish that BAM Is an Alter Ego for
                      Liability Purposes.

        Just as these allegations are insufficient to establish jurisdiction under

Alabama law, they similarly fail to establish liability under the law of BAM’s state

of incorporation, Delaware. (See AC ¶ 69.) Like Alabama, Delaware sets a high bar

for piercing the corporate veil. To disregard the corporate entity—“a difficult task”—

a plaintiff must show “complete domination and control . . . to the point that [the

dominated entity] no longer has legal or independent significance of [its] own.”

Wallace v. Wood, 752 A.2d 1175, 1183-84 (Del. Ch. 1999).

        Delaware courts look to multiple factors to determine control or domination,

including: “(1) whether the company was adequately capitalized for the undertaking;

(2) whether the company was solvent; (3) whether corporate formalities were



24
   Plaintiffs also emphasize that BAM was a defendant in the SEC’s now-dismissed lawsuit. (AC
¶¶ 71-72, 328; SEC Announces Dismissal of Civil Enforcement Action Against Binance Entities
and Founder Changpeng Zhao, U.S. Sec. & Exch. Comm’n (May 29, 2025),
https://www.sec.gov/enforcement-litigation/litigation-releases/lr-26316.) But that lawsuit did not
involve claims of terrorism, inadequate internal controls, or any other conduct relevant to
Plaintiffs’ claims. Instead, the SEC’s claims centered on whether certain BAM and BHL “offerings
and sales of crypto assets [constituted] ‘securities’ for purposes of the Securities Act and the
Exchange Act[.]” SEC v. Binance Holdings Ltd., 738 F. Supp. 3d 20, 38 (D.D.C. 2024).

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observed; (4) whether the dominant shareholder siphoned company funds; and (5)

whether, in general, the company simply functioned as a facade for the dominant

shareholder.” Manichaean Cap., LLC v. Exela Techs., Inc., 251 A.3d 694, 706-07

(Del. Ch. 2021). In addition to these factors, “an overall element of injustice or

unfairness must be present,” id. at 707, as well as “a causal connection between the

damages alleged and the abuse of the corporate form,” Maxus Liquidating Tr. v. YPF

S.A. (In re Maxus Energy Corp.), 641 B.R. 467, 505 (Bankr. D. Del. 2022).

      Importantly, Delaware law mandates that to allow piercing of the corporate

veil “ the corporation must be a sham and exist for no other purpose than as a vehicle

for fraud.” Wood, 752 A.2d at 1184. This is fatal to Plaintiffs’ theory. As Plaintiffs

themselves acknowledge, BAM operates “a separate exchange designed to comply

with all US federal laws,” with its own customers, that is “authorized to do business”

in most of the United States. (AC ¶¶ 94; see also id. ¶ 130 (acknowledging that

BAM’s exchange offers over-the-counter trading with independent counterparties).)

Even when alleging that BHL and Mr. Zhao “controlled” BAM, Plaintiffs

necessarily acknowledge that BAM did not operate as a mere shell, but was a

functioning business with its own customers, bank accounts, and assets. (Id. ¶¶ 130,

177, 259.)

      Several other factors also undermine Plaintiffs’ allegations that BAM is the

alter ego of either Mr. Zhao or BHL. Under Delaware law, Plaintiffs’ citations to Mr.


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Zhao’s status as owner and chairman are insufficient to render BAM his alter ego.

(See AC ¶¶ 75, 124.) See Wenske v. Blue Bell Creameries, Inc., 2018 WL 5994971,

at *6 n.44 (Del. Ch. Nov. 13, 2018) (“It is hornbook law that the exercise of the

control which stock ownership gives to the stockholders . . . will not create liability

beyond the assets of the subsidiary.”). Nor does his historical involvement with both

BAM and BHL, or past common management between the two companies, render

BAM and BHL alter egos. (See, e.g., AC ¶ 200 (citing FinCEN statement that

Binance executives served on BAM’s Board). 25) See Landgarten v. York Rsch. Corp.,

1988 Del. Ch. LEXIS 20, at *12 (Del. Ch. Feb. 3, 1988) (“Neither total stock

ownership nor the existence of common management, without more, is sufficient to

pierce the corporate veil.”); Trs. of Arden v. Unity Constr. Co., 2000 Del. Ch. LEXIS

7, at *12 (Del. Ch. Jan. 26, 2000) (“Of course, common management of two entities

does not, by itself, justify piercing the corporate veil.”); Leslie v. Telephonics Office

Techs., Inc., 1993 WL 547188, at *8 (Del. Ch. Dec. 30, 1993) (“[M]ore often than

not, Delaware courts have upheld the legal significance of corporate form, in a

corporate-subsidiary complex, despite the fact of substantial overlap in the

management and control of the two entities.”). In fact, as in Alabama, “[h]orizontal

veil piercing . . . ha[s] not been adopted in Delaware.” Cleveland-Cliffs Burns



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     See also id. ¶¶ 75-76, 124, 149, 180, 184, 220, 225, 267, 272, 308.

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Harbor LLC v. Boomerang Tube, LLC, 2023 WL 5688392, at *7 (Del. Ch. Sep. 5,

2023).

      Nor do Plaintiffs plead that BAM was undercapitalized, was insolvent, or

failed to observe corporate formalities to the point that it was merely a “sham.” See

Gadsden v. Home Pres. Co., 2004 WL 485468, at *5 (Del. Ch. Feb. 20, 2004)

(disregarding corporate status where corporation had “no assets, capital, or tools”

and shareholder actively “remov[ed] all funds from the corporate accounts” to profit

off “promises that his company had no ability to perform”). And Plaintiffs have not

established that any use of BAM’s corporate form resulted in fraud or injustice that

caused their damages, as there is no plausible connection between Mr. Zhao and

BHL’s alleged “control” of BAM and the terrorist attacks that harmed Plaintiffs. See

supra Section II(C)(1); In re Maxus Energy Corp., 641 B.R. at 505 (requiring a

causal connection between “abuse of the corporate form” and plaintiff’s damages).

      Plaintiffs cannot establish that BAM was Mr. Zhao or BHL’s alter ego for

either jurisdictional or liability purposes.

      E.     The Court Lacks Subject Matter Jurisdiction over Plaintiffs’ ATS
             Claim (Count V).

      In Count V, the “foreign-born citizen” Plaintiffs bring a claim under the Alien

Tort Statute, 28 U.S.C. § 1350, premised on BAM’s alleged violations of the ATA,

JASTA, and 18 U.S.C. §§ 2339A and B. (See AC ¶¶ 350-52; see also, e.g., id. ¶¶ 49,

50, 54, 59-61; id. at 115.) The Court lacks jurisdiction over this claim because

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Plaintiffs do not identify a valid international-law basis for their claim or domestic

conduct sufficient to overcome the presumption against extraterritorial application

of the ATS.

        The ATS provides district courts “original jurisdiction of any civil action by

an alien for a tort only, committed in violation of the law of nations or a treaty of the

United States.” 28 U.S.C. § 1350. The requirements for jurisdiction are therefore

that: “the plaintiff [is] ‘(1) an alien, (2) suing for a tort, which was (3) committed in

violation of international law.’” Doe v. Drummond Co., 782 F.3d 576, 583 (11th Cir.

2015). That Plaintiffs allege “violation[s] of United States law” (AC ¶ 351) as the

partial basis for their ATS claim is therefore irrelevant—“the scope of liability under

the ATS is determined by reference to international law not federal statutes.” Doe I

v. Cisco Sys., 113 F.4th 1230, 1234 (9th Cir. 2024) (citing Sosa v. Alvarez-Machain,

542 U.S. 692, 733 (2004)).26

        The AC’s reliance on certain treaties and conventions is misplaced. (See AC

¶¶ 25, 353-54 (citing the 2000 UN “Palermo Convention” Against Transnational

Organized Crime, the Convention for the Suppression of the Financing of Terrorism,


26
   To the extent Plaintiffs argue that violations of domestic anti-terrorism statutes constitute
concomitant violations of international law, multiple courts have rejected this argument. See, e.g.,
In re Terrorist Attacks on Sept. 11, 2001, 714 F.3d 118, 125 (2d Cir. 2013) (“Plaintiffs fail to . . .
plead a violation of the ATS because no universal norm against ‘terrorism’ existed under customary
international law (i.e., the ‘law of nations’) as of September 11, 2001.”); Saperstein v. Palestinian
Auth., 2006 WL 3804718, at *7 (S.D. Fla. Dec. 22, 2006) (“[P]olitically motivated terrorism has
not reached the status of a violation of the law of nations.”); In re Chiquita Brands Int’l Inc., 792
F. Supp. 2d 1301, 1321-22 (S.D. Fla. 2011) (similar).
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the Rome Statute of the International Criminal Court, and Article 34 of the Fourth

Geneva Convention).) No court has recognized the Palermo Convention as a basis

for an ATS claim, and the other treaties have been specifically rejected. See Jesner

v. Arab Bank, 584 U.S. 241, 261-62 (2018) (plurality opinion) (“[B]y its terms the

[terrorist financing] Convention imposes its obligations only on nation-states ‘to

enable’ corporations to be held liable in certain circumstances under domestic law. .

. . The Convention neither requires nor authorizes courts, without congressional

authorization, to displace those detailed regulatory regimes by allowing common-

law actions under the ATS.”); Est. of Amergi v. Palestinian Auth., 611 F.3d 1350,

1363 (11th Cir. 2010) (concluding that “a violation of the Geneva Conventions does

not establish a violation of the law of nations, which is required to maintain

jurisdiction under the ATS”); Doe v. Cisco Sys., 73 F.4th 700, 731 (9th Cir. 2023)

(“[T]he Rome Statute was not intended to codify customary international law nor to

inhibit or otherwise affect its development.”); In re Chiquita Brands Int’l, Inc., 792

F. Supp. 2d 1301, 1318 (S.D. Fla. 2011) (“The Court finds that the [terrorist]

Financing Convention neither codifies nor creates an international-law norm against

terrorism or terrorist financing.”).

      The Court should decline Plaintiffs’ invitation to recognize a cause of action

under any of these provisions here. See Nestle USA, Inc. v. Doe, 593 U.S. 628, 635

(2021) (“[C]ourts must refrain from creating a cause of action whenever there is


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even a single sound reason to defer to Congress.”); Baloco v. Drummond Co., Inc.,

767 F.3d 1229, 1234 (11th Cir. 2014) (“[I]t is well settled that [the ATS] does not

empower a cause of action for just any alleged violation of the law of nations.”);

Galvez v. Fanjul Corp., 533 F. Supp. 3d 1268, 1280 (S.D. Fla. 2021) (“[I]n the

absence of state action, the ATS typically only imposes liability on private parties

for violations of the most serious international norms, such as war crimes, slave

trading, and genocide.”) (collecting cases). And even if a cause of action existed,

Plaintiffs’ allegations fail to establish that any conduct by BAM violated these

provisions, for the reasons set out in Section II(C) supra.

      Dismissal is also independently required for a second reason: “ATS claims are

subject to the presumption against extraterritoriality,” which “assumes U.S. law does

not apply outside the United States.” Drummond, 782 F.3d at 582. Plaintiffs’ claims

do not “touch and concern the territory of the United States . . . with sufficient force

to displace” that presumption and subject BAM to liability for attacks that occurred

abroad. Kiobel v. Royal Dutch Petroleum Co., 569 U.S. 108, 124 (2013).

      “[T]o ensure a ‘permissible domestic application’ of the ATS, a plaintiff must

show that ‘the conduct relevant to the statute’s focus occurred in the United States,’

even if other relevant conduct occurred abroad.” In re Chiquita Brands Int’l Inc.

Alien Tort Statute & Shareholders Deriv. Litig., 2022 WL 22236064, at *10 (S.D.

Fla. Aug. 23, 2022) (quoting Nestle, 593 U.S. at 634). Under Supreme Court and


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Eleventh Circuit precedent, neither BAM’s status as a U.S. corporation, the United

States’ general interest in combatting terrorism, nor “general corporate activity”

“strike with ‘sufficient force’ to displace the presumption and permit jurisdiction.”

Nestle, 593 U.S. at 634; Drummond, 782 F.3d at 596-97.

       Plaintiffs cannot show more. The only conduct (domestic or otherwise)

alleged in the Amended Complaint concerning BAM is that it operates a U.S.-based

cryptocurrency exchange compliant with U.S. regulations. (AC ¶¶ 37, 94.) As

explained above, Plaintiffs do not plausibly connect BAM’s U.S. platform to “the

conduct relevant to the statute’s focus”—the terrorist-linked transactions that

purportedly facilitated the attacks on Plaintiffs. See supra Section II(C)(1).

       The Court lacks jurisdiction over Plaintiffs’ ATS claim, and it must be

dismissed.

III.   CONCLUSION
       For the reasons stated herein, the Court should dismiss BAM from this action,

with prejudice, pursuant to Federal Rules of Civil Procedure 8 and 10, 12(b)(1),

12(b)(2), and 12(b)(6).




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Dated: June 20, 2025                Respectfully submitted,

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                         CERTIFICATE OF SERVICE

      I hereby certify that, on June 20, 2025, a true and correct copy of the foregoing

document was served via the Court’s ECF filing system on all counsel of record.

                                       /s/ Kenneth D. Sansom
                                       OF COUNSEL




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